
AMY, Judge.
For the reasons stated in the companion case, Joseph Matt, et al. v. Agro Distribution, LLC, et al., 05-291 (La.App. 3 Cir. 6/1/05), 904 So.2d 928, 2005 WL 1279220, the judgment in this consolidated matter is affirmed and a single $6,000.00 award is made to the plaintiffs for attorney’s fees on the appeal of this consolidated matter. All costs of this appeal are assigned to the appellants, Land O’ Lakes, Agro Distribution, LLC and Agrilliance, LLC.
AFFIRMED. ADDITIONAL ATTORNEY’S FEES AWARDED ON APPEAL.
